EXHIBIT 12

for

For MOTION TO RECONSIDER THE
ORDER/JUDGMENT UNDER DOCUMENT #300
DENYING PETITIONER’S DOCUMENT #294:
“MOTION FOR APPOINTMENT OF SPECIAL
MASTER FOR PROCEEDINGS AND FINDINGS OF
FACT OF GROUND VII”; AND DOCUMENT #296:
“MOTION FOR APPOINTED COUNSEL TO ASSIST
IN 2255 CASE MOTION AND
BRIEF/MEMORANDUM OF LAW IN SUPPORT OF
MOTION BY BRIAN DAVID HILL.”
by Brian David Hill

Case no. 1:13-cr-435-1; civil no. 1:22-CV-00074

Ally of Q, Former news reporter of USWGO Alternative News
JUSTICEFORUSWGO.WORDPRESS.COM

 

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Mail

 

 

Moment FBI agents broke down the Ose Oweo| Enter your search EM
door and raided Jeffrey Epstein's $77M

mansion - where they ‘found a safe

containing huge stash of child

pornography' that led to his sex

trafficking arrest

« Jeffrey Epstein entered a not guilty plea to two charges of sex trafficking in
federal court on Monday, for his alleged sexual abuse of three minors

« Video has emerged of the moment FBI agents stormed his home in NYC Saturday
and allegedly uncovered a large cache of child pornography

¢ There were approximately 20 FBI agents and between five and 10 NYPD officers
who were both in uniform and in plain clothes at the scene

¢ The raid turned up thousands of graphic photos which included images of
underage girls

« Agents also found Epstein's massage room set up just as victims described it
from 15 years ago, with a table and assortment of sex toys

e Prosecutors are demanding Epstein forfeit his $77 million Manhattan mansion in
the indictment - he could land behind bars for 45 years if found guilty

By ARIEL ZILBER and CHRIS SPARGO W and DANIEL BATES IN MANHATTAN FEDERAL COURT
FOR DAILY MAR. COM

 

  

PUBLISHED: 21:57 EST, 8 July 2019 | UPDATED: : EST, 15 July
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Tube '
Amateur cell phone video filmed by a passerby in New York City shows the dramatic Follow 9) mo
moment law enforcement officials raided the Upper East Side home of Jeffrey reaps hat fe,
Epstein on Saturday. el tet Follow

 
 

Pete Tu.’ Daily Mail
The footage begins with loud bangs that are heard as officials with the Federal

Case 1:13-cr-00435-TDS Document 301-12 Filed 03/11/22 Page 2 of 18
Bureau of Investigation and the New York Police Department force their way into the
billionaire’s house, where they allegedly uncovered a large cache of child
pornography.

As two dozen law enforcement officials enter the home, a small crowd of onlookers
gathers across the street and watches on. ‘This is a historic moment, says one
witness. ‘You'll be reading about it on the front page of The New York Times.

Moments later, police officers are seen waving the crowd away, asking them to
disperse.

The raid turned up thousands of graphic photos which included images of underage
girls and a safe filled with compact discs labeled as 'nude girls’, according to
authorities.

Agents also say they found Epstein's massage room set up just as victims described
it from up to 17 years ago, with a table and assortment of sex toys.

Police raid Jeffrey Epstein's Manhattan townhouse in July

ee Watch the full video

 

 

 

 

   

FEMAIL TODAY

> Meghan may have a
cow over this: Prince
Harry is slammed for
attending Texas rodeo
despite his wife
Meghan's well-known
animal rights activism

SRW Ivanka

shows off her Florida
tan in a breezy floral
mini dress as she and
husband Jared take
their three kids tubing
on a speedboat in Miami

EXCLUSIVE BAUty

Jenner emerges from
her billionaire bolthole
looking relaxed and
slender one month after
birth of baby Wolf for
casual outing with
daughter Stormi

> Kanye West's new
girlfriend Chaney Jones
shows some skin in a
skimpy leather
ensemble after
admitting she got a
Brazilian butt lift

> Ewan McGregor and
Mary Elizabeth
Winstead look every
inch the doting parents
as they take their eight-
month old son Laurie
for a sunny stroll in LA

» Sore muscles or joint
pain? This celebrity-
approved CBD brand is
offering an unbeatable
Buy One Get One Free
deal on pain-relief
products that shoppers
say ‘hit the spot fast!’
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> Miranda Lambert wins
big with Entertainer of
the Year at Academy of
Country Music Awards...
while Morgan Wallen
wins Album of the Year
despite his N-word
scandal

> Revive dry winter skin
with this affordable
body butter packed with
ultra-moisturizing
pistachio nuts - and the
bonus is that it smells
like biscotti
PROMOTED

> Kristen Stewart debuts
blonder locks at THR's
Oscar Nominees Night
in Beverly Hills... and
reveals she played golf
after her Academy
Awards nod for Spencer

+ ACM Awards red
carpet! Carrie
Underwood and Maren
Morris put on a busty
display as they lead the

Case 1:13-cr-00435-TDS Document 301-12 Filed 03/11/22 Page 3 of 18
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Amateur video filmed on a cell phone by a passerby in New York City shows the moment law
enforcement officials raided the Upper East Side mansion of Jeffrey Epstein on Saturday

 

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A man who appears to be an investigator observes the scene at the front entrance to Epstein's

home on Saturday

 

 

 

 

 

After the law enforcement officials managed to enter the home, two police officers were seen

standing outside near the front entrance

glam arrivals battling it
out to be crowned the
best in country music

> Frail Phil Collins, 71,
sits while performing in
Berlin during European
leg of Genesis’ The Last
Domino? tour - as he
battles debilitating
health conditions

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> Sparkle into

spring! Celeb-favorite
sustainable jewelry
brand Monica Vinader is
offering DailyMail
readers 20% off
everything

PROMOTED

> Ukrainian-born DWTS
pro Maksim
Chmerkovskiy, 42, is
slammed as a ‘coward’
for fleeing war on train
packed with women and
kids then going on
media blitz about it

> Drake puts his LA
"YOLO' mansion on the
market for $14.8
MILLION... and is also
selling two neighboring
properties he bought for
guests for $7.4M

* Kelsea Ballerini and
husband Morgan Evans
rock all black while
putting on a loved-up
display at the 57th

ee Case 1:13-cr-00435-TDS Document 301-12 Filed 03/11/22 Page 4 of 18 cE ee o 4
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A security guard who works in a building nearby told DailyMail.com on Saturday that
it took law enforcement officials about 15 minutes to break into the home.

They used a large hammer to eventually bust through the front entrance, which is
outfitted with sophisticated voice and fingerprint technology.

The guard told DailyMail.com that there were approximately 20 FBI agents and
between five and 10 NYPD officers who were both in uniform and in plain clothes.

The raid took place on the same day that Epstein, 66, was taken into custody after
landing in the United States from France.

In a bail memorandum, which asks that Epstein remain in prison ahead of trial,
further details revealed items discovered in the raid were revealed.

It listed ‘documents and other materials, such as contemporaneous notes, messages
recovered from the defendant's residence that include names and contact
information for certain victims, and call records that confirm the defendant and his
agents were repeatedly in contact with various victims during the charged period.’

It added that the search uncovered ‘at least hundreds—and perhaps thousands—of
sexually suggestive photographs of fully- or partially nude females.'

A number of those photographs ‘appear to be of underage girls, including at least
one girl who, according to her counsel, was underage at the time the relevant
photographs were taken. '

It is also noted that some photos were discovered in a locked safe, where agents
‘also found compact discs with hand-written labels including the following: "Young
[Name] + [Name]," “Misc nudes 1," and "Girl pics nude."

a

Academy of Country
Music Awards

> Britney Spears says
she's ‘planning on
having babies in
Polynesia’ as she posts
more topless beach
snaps from vacation

> Steve Jobs' daughter
Eve Jobs, 23,
announces her
modeling contract with
DNA Model
Management in a candid
Instagram snap

> Evan Rachel Wood
claims Marilyn Manson
used to DRUG HER with
meth and ‘rape her in
her sleep’: Actress says
she tried to kill herself
after abortion

» Renee Zellweger stuns
in chic suit that shows
off her trim frame on the
red carpet at premiere
for new crime series
The Thing About Pam

* For ALL the showbiz
news on the internet, go
to Newzit.com

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> Kristin Cavallari takes
the plunge in black
Mugler dress to host
fashion pre-show at the
ACM Awards in Las
Vegas

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—————— —— a _ —— So eereeeeasy|
Asecurity guard from a nearby building told DailyMail.com on Saturday that it took agents
about 15 minutes to break through the front entrance. The image above from Saturday shows
the damage done to the front door

 

sen seen

> Samuel L. Jackson
hits the red carpet with
wife LaToya Richardon
at The Last Days of
Ptolemy Grey premiere
in Los Angeles

+ Oscars power lunch!
Kristen Stewart,
Penelope Cruz bring
power suits and plenty
of pink to Academy
Awards nominees
celebration

» Carrie Underwood
makes TWO wardrobe
changes as she takes
the stage to accept
Single of the Year award
and perform at ACMs

> Spring savings at
H&M! Update your
closet for the new
season with affordable
clothes that look super
expensive - here are our

top picks
PROMOTED

* Dolly Parton, 76, is the
host with the most
sparkle as she dazzles
in shimmering
ensemble at Academy
of Country Music
Awards in Las Vegas

> Nicole Kidman skips
Oscar luncheon while
recovering from a TORN
HAMSTRING on the set
of her Amazon series
Expats

> Benedict Cumberbatch
brands Sam Elliott's
criticism of The Power
of the Dog ‘very odd"
and says there Is still 'a
massive intolerance
towards homosexuality’

> Brian Austin Green's
DWTS girlfriend Sharna
Burgess, 36, reveals her
pregnancy was an
‘accident’ while she was
on birth control and
describes the surprise
as ‘divine timing’

> Lizzo showcases her
curves in a shimmering
gold string bikini during
pool day as she takes to
social media to declare
she's ‘back to work’

> Yellowstone star Luke
Grimes hits the red
carpet with wife Bianca

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Authorities allege that Epstein kept a large trove of child pornography in the home (seen above

on Monday)

During the disgraced billionaire's federal court appearance for the first time on
Monday he entered a not guilty plea to two charges of sex trafficking that could put

him behind bars for 45 years.

He entered the courtroom in a dark blue

jumpsuit and took his seat next to his
defense attorney for the first of two
hearings in his case.

The first count of sex trafficking occurred
when Epstein's employees in New York

called the two minor victims in Palm

Beach to schedule a time for the minors
to meet with the convicted pedophile. It
is unclear whether those employees are

cooperating with the investigation.

The second count relates to his alleged

enticing of the minor victim from New
York to commit a commercial sex act.

At one point during Monday's
proceedings, Epstein's lawyer Reid

Weingarten compared the victims who
have accused his client of sexual assault

to sex workers.

‘It is fair to say that a significant segment

 

EPSTEIN'S VICTIMS
BREAK THEIR SILENCE

 

Two of the women who accused
billionaire Jeffrey Epstein of molesting
them when they were minors will be in
attendance for his court appearance
on Monday in Manhattan.

Michelle Licata was just 16 when she
claims a young woman brought her to
Epstein's Palm Beach estate and she
was paid to give him a massage.

‘He said, god, you're just so beautiful
and sexy and gorgeous and it was
making me feel really uncomfortable,’
said Licata in an interview with ABC
News.

Courtney Wild was even younger,
revealing that she was still in middle
school when Epstein allegedly forced
her into performing sex acts.

Rodrigues before
presenting at the 2022
ACM Awards

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Dally Mlatl

> Chris Stapleton poses
with his wife Morgane
and their two oldest
kids at the ACM Awards
in Las Vegas

) Jeffrey Dean Morgan
and Lauren Cohan set
to star in The Walking
Dead spin-off series Isle
of the Dead

> Kane Brown cuts a
fashionable figure in a
black suit as he walks
the red carpet with

wife Katelyn at the 2022
Academy of Country
Music Awards

"Crystal clear sound
quality’: Shoppers are
blown away by the
performance of these
JBL earbuds saying
they're ‘better than
Apple’ - and they're now
half price

PROMOTED

> Jason Aldean rocks
black cowboy hat and
jeans as he attends the
67th Academy of
Country Music Awards
with wife Brittany

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of the law enforcement community in ‘lL was 14, | had braces on,’ recalled

Florida thought that what we had was Wild. > Steven Spielberg
y — ‘ ‘ ‘disagrees’ with the
simple prostitution,’ stated Weingarten. Wild and Licata, who were among the Oscar's controversial
a ‘ - po decision to award eight
. victims in the previous criminal case

He made this comments as two of those ee . : : categories before the
as : . brought against Epstein, 66, in Florida show and hopes it will

women, victims Michelle Licata and be reversed

back in 2008, said that they will both
be in court on Monday for his
arraignment and bail hearing.

Courtney Wild, sat just a few feet away in

the courtroom. > Diane Kruger goes

business casual in

Licata was 16 when she claims Epstein
assaulted her, while Wild was 14.

He later referred to the allegations
involving Epstein as being ‘ancient
conduct."

When the judge pointed out that the
victims' being underage would make the
allegations a crime regardless,
Weingarten responded: ‘There's no
statutory rape because there was no
penetration.’

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Day in court: Jeffrey Epstein entered a not guilty plea to charges of sex trafficking on Monday
in federal court, for his alleged sexual abuse of three minors (I to r: Martin Weinberg, Epstein,

and Marc Fernich)

blazer and sweatpants...
as she heads out with
her daughter in NYC

> Alec Baldwin is
“hopeful he will not be
held criminally
responsible’ for Rust
shooting and claims
people suing for
negligence are
financially motivated

> 'F*** I'm old!’: Kelly
Osbourne, 37, shares
hilarious throwback
snaps with purple
mohawk as she marks
20 years since TV show
The Osbournes debuted

> Aaron Rodgers and
Shailene Woodley
spending time after
recent split... as ‘he
wants to give it another
try’

> The surprising reason
Spencer Pratt turned
down $560,000 to star
on Australia's Big
Brother VIP as he
reveals how much
money celebrities really
make from reality TV

> Helen Mirren, 76,
catches the eye ina
dazzling silver midi
dress with glittery rose
embellishments at
Roundabout Theatre
Company gala in New
York

> Nicki Minaj comes to
Britney Spears’ defense
and calls her ‘the best
dancer’ after pop star
says people make fun of
her moves

> Surgery-addicted
social media star Mary
Magdalene wants to
make her breast and
butt implants even
BIGGER so she can
look like ‘a stick with
balloons’

> Katy Perry showcases
her tiny waist in a
plunging lavender puff
sleeved corset blouse
on American Idol

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The US Attorney's office has revealed that it has received multiple calls from
witnesses that have yet to be interviewed in the 36 hours since Epstein's arrest.

In addition, any victims of Epstein in New York will have the right to file a civil claim
against him in the state anytime before August 14, 2020 - even if the statute of
limitations has expired in the case.

Federal prosecutors informed the court though that they ‘don't expect any imminent
superseding indictments in this case.'

Epstein and Weingarten ultimate opted to delay his bail hearing, asking for three
more days to prepare arguments against the bail memorandum filed by federal
prosecutors.

It was then ordered by the judge that the request for bail be submitted on Thursday
and prosecutors turn in their response on Friday ahead of a hearing next Monday
when he would rule on the matter.

Jeffrey Epstein pleads not guilty to sex trafficking charges

Watch the full video

 

Hail

> Kendall Jenner is
stunning in a strapless
dress... as beau Devin
Booker shares how he
feels about being in the
spotlight with her: ‘It’s
not hard"

> Blake Lively rocks a
casual look with a
checkered shirt jacket
and a sports bra as she
takes a call on her stroll
in New York City

- On cloud nine! Kodi
Smit-McPhee wears a
stylish Alexander
McQueen suit at Oscar
nominees luncheon as
he hot favorite to win for
his performance in The
Power of the Dog

> 'l love this!': Kourtney
Kardashian's fiancé
Travis Barker praises
her daughter Penelope's
drawing of him
complete with facial and
neck tattoos

> Benedict Cumberbatch
proudly attends Oscars
luncheon after
defending his film

Power of the Dog from
criticism by Sam Elliott

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> Billie Eilish dons
Gucci pencil skirt and
her brother Finneas
suits up to celebrate
their Bond theme at
Oscars Nominees
Luncheon in LA

+ Modern Family stars
Eric Stonestreet and
Jesse Tyler Ferguson
reunite for the first time
in two years in New
York City

> Renee Zellweger
models a chic black
coat with a leopard-print
lining as she heads into
The Tonight Show to

ad talk up her series The
Thing About Pam

> Camila Cabello
accidentally exposes
her NIPPLE while
demonstrating her
dancing skills live on
TV... before being

d of ‘cyber
Defense: ‘It is fair to say that a significant segment of the law enforcement community in flashing’ by Alan Carr
Florida thought that what we had was simple prostitution,’ stated Weingarten (victims Michelle

Licata and Courtney Wild above on Monday outside court) > Jennifer Lopez, 52,

goes makeup-free as
she details the toll late-
night movie shoots
have taken on her skin -
before touting ‘magic’
JLo Beauty product she
uses to ‘rejuvenate’ her

 

 

 

 

 

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Shattered youth: Courtney Wild (left at 14) was still in middle school and had braces when
Epstein allegedly forced her into performing sex acts (victim Michelle Licata at 16 right)

The indictment against the billionaire pedophile was unsealed on Monday morning,
and states that Epstein ‘enticed and recruited, and caused to be enticed and ;
recruited, minor girls at his mansion in Manhattan and his estate in Palm Beach to Ua Mail
engage in sex acts with him.’

= Case 1:13-cr-00435-TDS Document 301-12 Filed 03/11/22 Page 10 of 18
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There were dozens of these underage girls according to the indictment, who would

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receive hundreds of dollars after being forced into sex acts or, as the indictment
states, finding others to engage in sex acts with Epstein.

‘Moreover, in order to maintain and
increase his supply of victims, Epstein
also paid certain of his victims to recruit
additional girls to be similarly abused by
Epstein, reads the court filing.

‘In this way, Epstein created a vast
network of underage victims for him to
sexually exploit.’

Epstein was aware the the girls were
underage according to the indictment,
which focuses on just three victims.

There is no mention of any other
individuals who engaged in any sexual
assault or molestation of minor females
though, despite previous victims
claiming this was a common occurrence
with Epstein and his high-powered pals.

In a press conference Monday morning,
the FBI declared that this was currently
the number once case for the agency
while encouraging any other victims or
individuals with knowledge of Epstein's
alleged offenses to contact federal
agents.

‘We are asking anyone who may have
been victimized by Jeffrey Epstein, or
anyone who may have information about
his alleged criminal behavior, to please
call us,’ said FBI Assistant Director
William F. Sweeney Jr.

‘We want to hear from you, regardless of
the age you are now, or whatever age you
were then, no matter where the incident
took place. The bravery it takes to call us
might empower others to speak out
about the crimes committed against
them.'

Epstein was ordered to forfeit his $77
million Manhattan mansion in the
indictment.

It is also suggested that he could be
forced to forfeit other property, which
could refer to his New Mexico ranch, two

properties in the US Virgin Islands or his $12 million Palm Beach estate.

 

LABOR SEC. ACOSTA'S

EPSTEIN DEAL

 

Jeffrey Epstein signed a non-

prosecution agreement in his previous
case, which was overseen by President
Trump's former Secretary of Labor,

Alex Acosta.

That agreement is currently at the
center of anther court case as the
victims who first came forward are

trying to have the case retried.

The non-prosecution deal does not
extend to the Southern District of New
York however, and while the young
girls in the indictment were in Palm
Beach at the time of the criminal
action detailed by prosecutors, the
actual crime was happening in New

York.

A federal judge recently ruled that the
agreement violated the rights of more
than 30 victims, but the Department of
Justice has stated that the case should

not be retried in a court filing.

Acosta, who in his role as US attorney
violated the rights of Epstein's alleged
victims when he neglected to notify

them that they were no longer

pursuing federal charges, stepped
down shortly after Epstein’s arrest.

Mail

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There are also his many cars, boats and jets, which were also outlined by federal

prosecutors in the bail memorandum.

Love Is Blind star
Abhishek ‘Shake’
Chatterjee RIPS host
Nick Lachey over
remarks about his
career as veterinarian

> Deep Water TEASER:
Ben Affleck is pushed to
the brink by Ana de
Armas as loveless
couple tear up the
marital rulebook

> My mini me! Heidi
Klum, 48, and look-alike
daughter Leni, 17, both
poses for Harper's
Bazaar Germany covers
in captivating shoot

> Vanessa Hudgens puts
on a busty display ina
cut-out coral mini dress
as she joins an ab-
flashing Olivia Culpo at
the glitzy Giambattista
Valli PFW show

> Emily Ratajkowski
celebrates her child
Sylvester's first birthday
with gender neutral
accents like a
multicolored cake and
silver balloons

> Russian Doll trailer:
Natasha Lyonne walks
out of a grave and
tumbles down a
staircase for season two
of the hit show which
kicks off in April

> Olivia Culpo displays
her toned legs in an
edgy voluminous blue
dress and towering
heels as she steps out
during PFW

> Victoria's Secret vet
Jourdan Dunn wears a
bikini top that barely
contains her assets as
she has a rollicking
good time in Jamaica

> Selena Gomez wears
winter layers as she
films scenes for Only
Murders In The Building
with James Caverly at
NYC's Coney Island

> Paramount Pictures
actress Laurel Goodwin
- who starred in Star
Trek and Girls! Girls!
Girls! - is dead at 79

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Mail

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‘[T]he defendant has access to innumerable means to flee. His sex registration
documentation of “current vehicles" lists no fewer than 15 motor vehicles, including
seven Chevrolet Suburbans, a cargo van, a Range Rover, a Mercedez-Benz sedan, a
Cadillac Escalade, and a Hummer II,’ states the filing.

‘These cars are registered in various states and territories including the Virgin
Islands, New York, Florida, and New Mexico. The defendant also has access to two
private jets, giving him the ability to leave the country secretly and on a moment's
notice and to go virtually anywhere he wants to travel.’

His lawyer has declined requests for comment ever since the moneyman's arrest on
Saturday.

 

TIMELINE OF JEFFREY EPSTEIN'S
LEGAL TROUBLES

 

1999-2002 - Virginia Roberts [Jane Doe #3] claims to she served as a 'sex
slave' for Jeffrey Epstein and was required to engage in sexual activity with
him and a number of his high-profile friends.

March 2005 - Authorities in Florida launch a probe into Epstein after a mother
calls and alleges that her daughter was molested at his Palm Beach estate.

May 2006 - A probable cause affidavit is filed by the Palm Beach Police
Department after the sexual battery investigation into Epstein, Sarah Kellen
and Haley Robson Sworn. It charges Epstein with four counts of lewd and
lascivious behavior for unlawful sex with a minor. Five victims and seventeen
witnesses were interviewed, and alleged that Epstein engaged in unlawful
sexual behavior. Sworn meanwhile was accused of profiting by providing
young girls to Epstein, while Kellen was tasked with keeping a black book
containing the names and contact information of these minors in her capacity
as Epstein's assistant.

May 2006 - Barry Krischer, the State Attorney in Palm Beach, refers the case
to a grand jury.

June 2006 - The grand jury returns an indictment of one count of solicitation
of prostitution. This charge does not reflect that the individual in question was
a minor. Only one girl testifies in front of the grand jury.

July 2006 - The Palm Beach Police Chief grows increasingly annoyed as he
watches the lack of progress his investigation is making in the legal system,
and convinces the FBI to open a federal investigation. It is dubbed Operation
Leap Year and the possible crime being probed is ‘child prostitution.’

November 2006 - Operation Leap Year picks up steam as the FBI begins
interviewing potential witnesses and victims from the three states where
Epstein owns property: Florida, New York and New Mexico.

June 2007 - The US Attorney's Office drafts a lengthy indictment as the
federal probe of Epstein comes to an end, while at the same time Epstein
begins negotiating a possible plea deal.

July 2007 - A new set of grand jury subpoenas are issued, including ones for
Epstein’s computers. When police go to execute those subpoenas at Epstein's
Palm Beach home, they discover they have all been removed.

> Zoe Kravitz claims she
was ‘deemed ‘too urban*
to play Catwoman in
The Dark Knight Rises’
and Anne Hathaway was
cast instead as Batman
dominates box office

> Dua Lipa ‘is hit with
ANOTHER lawsuit over
her 2020 single
Levitating which
accuses her of ripping
off TWO 70s and 80s
disco tracks’

> Star Wars star Daisy
Ridley stuns in grey
polo neck cropped
sweater and leopard
print miniskirt at the
Giambattista Valli show
during PFW

> Linda Evangelista, 56,
covers up In a mask and
glasses in NYC... after
saying she is ‘done
hiding’ following
botched fat-freezing
procedure

> Orange is the
complementary black!
Kim Kardashian makes
yet another statement
look in a figure-hugging
knit dress as she
prepares to leave Paris

> Nicole Scherzinger
displays her cleavage
and toned frame during
couple's workout with
hunky beau Thom
Evans

> Fatal Attraction

eae Case 1:13-cr-00435-TDS Document 301-12 Filed 03/11/22 Page 12 of 18
August 2007 - The US Attorney in Miami at the time, Alex Acosta, joins the
Epstein negotiation talks.

September 2007 - Epstein signs a non-prosecution agreement on September
24 after rejecting multiple plea deals. His criminal charges are then deferred
to the Palm Beach County State Attorney's Office.

October 2007 - Acosta meets with Epstein's lawyer Jay Lefkowitz to finalize
the terms of the plea deal. It is agreed that the victims would not be notified,
the deal would be kept under seal and all grand jury subpoenas would be

canceled - including the one for Epstein's computers, which were still at large.

January 2008 - After months of demands, Epstein and his lawyers say they
will not longer accept the plea deal because he forces him to register as a sex
offender.

February 2008 - A civil lawsuit is filed against Epstein by an anonymous
woman, stating that as a 16-year-old minor she was recruited to give Epstein a
paid massage. She demands $50 million, claiming that she was then force to
perform sex acts on Epstein.

March 2008 - A federal grand jury presentation is planned following the FBI
probe. Lawyers for Epstein begin harassing victims with phone calls and one
of his investigators is accused of trying to run a victim's father off the road.

March 2008 - A second woman files a civil action against Epstein.

May 2008 - It is announced that with no plea deal in case, the federal case
against Epstein can proceed.

June 2008 - On June 30, Epstein pleads guilty to one count of solicitation of
prostitution and one count of solicitation of prostitution with a minor under
the age of 18. Both are state charges and he is sentenced to 18 months in jail.
He will also have to register as a sex offender.

July 2008 - Epstein's victims learn of the plea deal, but it will be another 10
years before they are informed of all the details, including the fact that victim
was 16 in the charge to which Epstein entered a guilty plea and not 14 like the
women were led to believe. This allowed Epstein to avoid registering as a sex
offender in multiple states like New Mexico, where he has a ranch. An
emergency petition is filed udner the Crime Victims’ Rights Act, which
mandates that victims be informed about plea agreements and the right to
appear at sentencing. It is ignored.

August 2008 - Epstein's agreement cannot be unsealed for the victims to see
it is ruled in court, with federal prosecutors fighting to keep the records
hidden from the public.

October 2008 - Epstein begins work release from the county stockad, where
six days a week an he is transported to an office where he is able to work and
entertain visitors. He returns to the stockade in the evening.

December 2008 - A judge grants Epstein's request to travel to New York for a
day and then an extended stay. He says it is for a court case, but after an initial
filing there is no follow-up in the case.

July 22, 2009 - Epstein is released from prison.

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director Adrian Lyne
hopes the Paramount+
reboot of 1887 classic
will improve on its ‘flat’
ending after describing
his new film as another
‘t’**d-up love story"

> Kaia Gerber and
boyfriend Austin Butler
hold hands as they take
his dog for a hike at the
TreePeople park in Los
Angeles

> Shaquille O'Neal,
7ftiin, TOWERS over
Jonah Hill, Sft7in, at the
basketball legend's 50th
birthday bash as the
actor suggest they
remake Twins

+ Lady Gaga's going on
tour again! Pop star
gets a caffeine fix in LA
before announcing new
dates for her
Chromatica Ball
summer shows

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Daily Mlail

> January Jones seen
on rare public outing
with her son Xander...
as they go grocery
shopping together in LA

> Chloe Grace Moretz
turns heads in long
black leather trench

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Hail

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Epstein's extreme security measures (keypad and fingerprint scan are seen above)

Plaintiffs attorney says clients hope Epstein is brought to justice
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The charges stem specifically from the alleged sexual assaults of the three minor
victims and the actions of three Epstein employees between 2002 and 2005. The

Case 1:13-cr-00435-TDS Document 301-12 Filed 03/11/22

coat and slicked back
hair as she arrives at
the Louis Vuitton Paris
Fashion Week show

> Chris Brown's
customized Miami Blue
2012 Lamborghini
Aventador that has only
16K miles on it ‘goes on
sale' for $300K

> Baywatch to
Broadway! Pamela
Anderson will make her
Broadway stage debut
as Roxie Hart in

Chicago this spring

* Back on? Karrueche
Tran and Quavo Huncho
reignite dating rumours
as they enjoy a low-key
dinner in West

Hollywood

+l needed to learn
some things’: Renee
Zellweger, 52, reveals
she studied
international law at
UCLA during break from
acting

>'On our third date we
named our children!’
Tom Daley reveals he
always wanted to be a
father and details
parenting son Robbie
Ray with husband
Dustin Lance Black

> Bella Hadid sports
bleached eyebrows and
a quirky gown as she
storms the runway for
Sacai's PFW show
before going for a stroll
with boyfriend Marc
Kalman

} Khloe Kardashian
wears a Kanye West
sweatshirt during outing
with daughter True...
after his attacks on her
sister Kim Kardashian
and Pete Davidson

> Bella Hadid continues
to leave her mark on
Paris Fashion Week as
she dons school
uniform-esque attire
whilst leaving the Royal
Monceau Hotel

Hail

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victims and employees are not named in the indictment.

Two of those minor victims were based near Epstein's $6 million Palm Beach estate,
while the other was near his Manhattan mansion.

The girls would be taken to Epstein's
houses, according to the indictment and
asked to give him a massage.

These massages ‘would be performed
nude or partially nude,’ 'would become
increasingly sexual in nature,’ and 'would
typically include one or more sex acts.’

‘As alleged, Jeffrey Epstein abused
underage girls for years, operating a
scheme in which girls he victimized
would recruit others for Epstein to exploit
and abuse,' said US Attorney Geoffrey
Berman on Monday.

‘Epstein exploited girls who were
vulnerable to abuse, enticed them with
cash payments, and escalated his
conduct to include sex acts, often
occurring at his residence on the Upper
East Side of Manhattan.'

He continued: ‘While the charged
conduct is from a number of years ago,
the victims — then children and now
young women - are no less entitled to
their day in court. My Office is proud to
stand up for these victims by bringing
this indictment.’

On June 30, 2008, Epstein entered a
guilty plea to state charges of soliciting
an underage girl for prostitution, and
ultimately served just 13 months of his 18-
month sentence.

He was never charged with a federal
crime.

That time was served not in a prison, but
rather the Palm Beach Stockade, which is
a local detention center.

Epstein was also allowed to leave six days
a week to go work out of his West Palm
Beach office during his time behind bars.
A few months later, the judge approved a
trip to New York City to visit his lawyer.

After his release he did have to register
as a sex offender in some states, but not
New Mexico, where he owns a ranch, or
the US Virgin Islands.

 

SEX TRAFFICKING &
CONSPIRACY TO
COMMIT SEX
TRAFFICKING

 

Sex Trafficking of Minors (maximum
sentence of 40 years in prison)

This refers to any recruitment,
harboring, transportation, provision,
obtaining, patronizing, or soliciting of
a minor for the purpose of a
commercial sex act.

Offenders of this crime often target
vulnerable children and gain control
over them using a variety of
manipulative methods.

Those offenders now have more
channels to carry out these crimes
with the advent of the Internet and
mobile technology, and as a result are
harder to apprehend in most cases.

In Epstein's case, he was with an
employee in New York who he
allegedly instructed to contact a minor
in Palm Beach to set up a meeting
between the two.

This happened at least two times with
two different employees and two
different minors according to the
indictment.

Conspiracy to Sex Traffic Minor
(maximum sentence of five years in
prison)

This refers to enticing a minor for the
purpose of a commercial sex act.

In Epstein's case, he allegedly
contacted the minor victim in New
York and set up a meeting at his
mansion during which a commercial
sex act took place.

An Epstein employee was also involved
in scheduling that meeting.

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> Queen Letizia of Spain
looks elegant in shades
of dark blue as she and
King Felipe VI attend an
event for Princess of
Girona Foundation's
Arts and Literature
Award

> Bella Hadid gives fans
an insight Into model
life as she shares
behind the scenes
snaps from
Balenciaga's Paris
Fashion Week show

> Kaia Gerber, 20, packs
on the PDA with her
boyfriend Austin Butler,
30, as they enjoy an
afternoon out in Los
Angeles

> Sophie Turner
conceals her stomach in
leather pinafore dress
amid pregnancy rumors
as she joins Joe at star-
studded Louis Vuitton
PFW show

> Ed Sheeran denies
‘borrowing’ ideas from
unknown songwriters
without crediting them
and says he treats them
the same as big stars

+ Caprice Bourret, 50,
gives war the finger as
she strips NAKED and
daubs reactionary
message on her body in
support of stricken
Ukraine

> Pamela Anderson
spotted out on a dinner
date with son Brandon
Lee at Craig's in West
Hollywood... after news
about her new Netflix
documentary

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Epstein signed a non-prosecution
agreement as well in the case, which was
overseen by President Trump's current
Secretary of Labor, Alex Acosta.

That agreement is currently at the center
of anther court case as the victims who
first came forward are trying to have the
case retried.

The non-prosecution deal does no
extend to the Southern District of New
York however, and while the young girls
in the indictment were in Palm Beach at
the time of the criminal action detailed
by prosecutors, the actual crime was
happening in New York.

A federal judge recently ruled that the
agreement violated the rights of more
than 30 victims, but the Department of
Justice has stated that the case should
not be retried in a court filing.

Acosta, who in his role as US attorney
violated the rights of Epstein's alleged
victims when he neglected to notify
them that they were no longer pursuing
federal charges, has not commented on
any of the current cases involving the
pedophile.

The Southern District of New

York's Public Corruption Unit
investigated Epstein, who is facing up to
45 years behind bars if found guilty on
both counts: sex trafficking of minors
and conspiracy to engage in sex
trafficking of minors.

The charges against Epstein were filed

following dozens of interviews with victims,

NYPD.

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Legal eagles: Maurene Comey, the daughter
of former FBI director James Comey, was
seen outside court on Monday (with Alex
Rossmiller on right)

who also spoke with the FBI and the

The Public Corruption Unit is tasked with heading up the ‘prosecution of corruption
crimes committed by elected and appointed officials, government employees, and
individuals and companies doing business with the city, state, and federal

government.'

Among the crimes it investigates are ‘bribery, embezzlement, and frauds committed
against local, state, and federal government agencies,’ but no mention of sex

trafficking.

It is also where former FBI director James Comey's daughter Maurene is employed as

a lawyer.

She has been assigned to the case and was seen outside federal court on Monday.

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+ Emma Stone looks
classically chic in head-
to-toe black as she
arrives with husband
Dave McCary at Louis
Vuitton's fashion show
in Paris

+ Sex Education star
Neuti Gatwa is one of
the country's best paid
young actors after he
was homeless before
landing breakthrough
role in the Netflix show

> Jennifer Connelly, 61,
shows off her
sensational style ina
cape-sleeve blazer and
embellished top as she
attends Louis Vuitton's
PFW show

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Mail

> A family affair! Salma
Hayek looks typically
stylish as she's joined
by husband Francois-
Henri Pinault and their
daughters at Balenciaga
fashion show in Paris

> Tom Cruise pilots his
own helicopter and
waves to adoring fans
as shooting in South
Africa continues for
MI:8 - after blowing
$290M on filming

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Evidence: Found in Epstein's home were contemporaneous notes, messages recovered from
the defendant's residence that include names and contact information for certain victims

 

 

 

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College co-eds: Protesters from NYU came out to Federal Court House with Jeffrey Epstein

pictures to protest.

> Hailey Bieber puts on
a VERY leggy display in
a black fur coat as she
shares a slew of sizzling
snaps from her time at
Paris Fashion Week

> Ashley Roberts wraps
up warm in a shearling
jacket and black corset
dress as she leaves

radio studio in London

> Alessandra Ambrosio
keeps it casual ina
knitted polo neck
jumper as she enjoys a
romantic lunch with
boyfriend Richard Lee
in Beverly Hills

+ What happens in
Vegas! Kristin Cavallari
lets loose as hunky
male dancer licks
whipped cream off her
neck and grinds against
her at VERY raunchy
Magic Mike show

> Tim McGraw and wife
Faith Hill share a kiss
on stage while
performing at The
American Rodeo in
Dallas

> Jodie Tumer-Smith
nails spring chic in
forest green tailored
coat as she steps out
during Paris Fashion
Week

> Killing Eve series four
RECAP: Confession
leads to crucifixion as
Villanetle's Christian
conversion goes full
circle (and ends in holy
bloodshed)

> Aaron Rodgers
officiates wedding of
teammate David
Bakhtiari in Santa
Barbara... and ‘attends
nuptials with ex-fiancee
Shailene Woodley"

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FBI break down Jeffrey Epstein door in sex trafficking bust

oa Watch the full video

> Emotional Sean Penn
hails President
Zelensky's ‘courage and
dignity’ after meeting
him the day Putin's
tanks rolled into Ukraine

 

> Randall Emmett steps
READ THE FULL INDICTMENT out with his daughters
after being accused of
j , : starting relationshi
US v. Jeffrey Epstein Indi... by on Scribd with a ble the i
month ex Lala Kent
gave birth

> The Pamela Anderson
effect! Lily James shuns
the demure gowns of
old as she flashes the
flesh at The Film
Independent Spirit
Awards

> Spirit Awards best
dressed! Kristen
Stewart, Lily James, and
Euphoria star Sydney
Sweeney lead the red
carpet glamour in
dazzling ensembles in
LA

> Chloé Moretz sports a
chic off-duty look in an
oversized black coat as
she steps out In Paris
during Fashion Week

> Daisy Edgar-Jones
pulls out all the fashion
stops in a sheer maxi
dress as she makes an
appearance at the Film
Independent Spirit
Awards

> Prince Charles ‘is set
to loan Prince Andrew
up to £7m to help
bankroll mufti-million
sex abuse payout to
Virginia Roberts’

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Share or comment on this article: Video shows moment authorities raided Jeffrey

5 cane ‘ * Beaming Maggi
Epstein's $77million mansion Saeed Lied

Gyllenhaal looks giddy
as she leaves

, 1.5k the Independent Spirit
shares Fox

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